Case 1:05-cv-00377-WDM-BNB Document 223 Filed 09/14/07 USDC Colorado Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                 Magistrate Judge Boyd N. Boland

   Civil Action No. 05-cv-00377-WDM-BNB

   MOISES CARRANZA-REYES,

   Plaintiff,

   v.

   THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS,
   FRED WEGENER, individually and in his capacity as Sheriff of Park County, Colorado,
   MONTE GORE, individually and in his capacity as Captain of Park County Sheriff’s Department,
   and
   VICKIE PAULSEN, individually and in her official capacity as Registered Nurse for Park
   County, Colorado,

   Defendants.
   ______________________________________________________________________________

                                      ORDER
   ______________________________________________________________________________

           This matter is before me on the Defendants’ Unopposed Motion to Amend Final

   Pretrial Order [Doc. # 221, filed 9/12/2007] (the “Motion”). The Motion seeks to amend the

   final pretrial order to add one additional exhibit, Defendants’ Exhibit 185, to the defendants’

   exhibit list. The Motion is not opposed.

           IT IS ORDERED that the Motion is GRANTED. The Final Pretrial Order is amended to

   include the Defendants’ Supplemental Exhibit List [Doc. # 221-2, filed 9/12/2007].

           Dated September 13, 2007.

                                                         BY THE COURT:

                                                         s/ Boyd N. Boland
                                                         United States Magistrate Judge


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